                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                 AT CHATTANOOGA

UNITED STATES OF AMERICA                            )
                                                    )       No. 1:22-cr-00138-001-CLC-CHS
v.                                                  )
                                                    )
GREGORY JAMES HYTER                                 )

                              MEMORANDUM AND ORDER

       GREGORY JAMES HYTER (“Defendant”) came before the Court for an initial
appearance on February 13, 2025, in accordance with Rule 32.1 of the Federal Rules of Criminal
Procedure on the Petition for Warrant for Offender Under Supervision (“Petition”) [Doc. 49].

        After being sworn in due form of law, Defendant was informed of his privilege against
self-incrimination under the 5th Amendment and his right to counsel under the 6th Amendment to
the United States Constitution.

        The Court determined Defendant wished to be represented by an attorney and that he
qualified for the appointment of an attorney to represent him at government expense.
Consequently, the Court APPOINTED attorney Christopher Meadows of Federal Defender
Services of Eastern Tennessee, Inc., to represent Defendant.

       Defendant was furnished with a copy of the Petition, and had an opportunity to review
those documents with his attorney. The Court determined that Defendant was able to read and
understand the Petition with the assistance of his counsel. In addition, AUSA Kevin Brown
explained to Defendant the specific charges contained in the Petition. Defendant acknowledged he
understood the charges in the Petition.

        The Government moved Defendant be detained pending disposition of the Petition or
further Order of this Court. The Court explained Defendant’s right to a preliminary hearing and
detention hearing and what those hearings entail. Defendant requested a preliminary hearing and
a detention hearing. At counsel's request, the detention hearing was scheduled on Thursday,
February 20, 2025.

       At the detention hearing, the Government relied upon the allegations in the Petition [Doc.
49] and the sworn testimony of U.S. Probation Officer Brent Basham. The Petition recites a
number of conditions of supervision violated by Defendant, to wit:




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           •   Mandatory Condition: You must not commit another federal, state, or local
               crime.

           •   Mandatory Condition: You must not unlawfully possess a controlled substance.

           •   Mandatory Condition: You must refrain from any unlawful use of a controlled
               substance. You shall submit to one drug test within 15 days of release from
               imprisonment and at least two periodic drug tests thereafter, as determined by the
               court.

           •   Standard Condition #3: You must not knowingly leave the federal judicial
               district where you are authorized to reside without first getting permission from
               the court or the probation officer.

      The sworn Petition details facts giving rise to violations of this condition of supervision.
More specifically:

       1. On April 22, 2024, Defendant submitted to a drug test at the probation office. He tested
          presumptively positive for THC. He admitted to ingesting an edible containing
          marijuana.

       2. On January 6, 2025, the U.S. Probation Office obtained copies of warrants issued for
          Defendant by Dekalb County District Court in Alabama. The warrants are for “Theft
          by Deception” and “Identity Theft.”

       3. According to documents supplied by the Fort Payne Police Department, Defendant
          used a counterfeit Tennessee Driver’s License bearing his photo but another
          individual’s personal information to obtain a car loan in the amount of $15,883, which
          was used to purchase a white Chrysler 300 from Basswood Chrysler Dodge Jeep Ram
          in Fort Payne. These charges are Class B felonies under Alabama law.

       4. Chattanooga Police Department reports reflect that the white Chrysler 300 fled from
          police on November 15, 2024, and November 30, 2024. Then, on December 4, 2024,
          the Chrysler 300 was located outside a residence occupied by Defendant’s mother at
          1906 Walker Street in Chattanooga.

        The narrative related by Officer Basham and proffered by AUSA Brown corroborated the
allegations in the Petition that Defendant deceived a car dealer in Fort Payne, Alabama, by using
a “doctored” driver’s license containing Defendant’s photo, but another person’s identity. The
Government introduced loan paperwork that corresponded to the identity of the owner of the
driver’s license, but which listed Defendant’s own telephone number. In this way, Defendant was
able to purchase a Chrysler 300 automobile, while burdening an unsuspecting victim with the loan
amount. The Government also offered proof that the salesperson at the Fort Payne car dealership
identified Defendant from a photo lineup as the person who completed the paperwork and
purchased the Chrysler 300 automobile. It is unclear whether Defendant was driving the Chrysler
300 automobile when Chattanooga Police noted that the vehicle fled from them on two occasions,



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but the fact that police eventually found the vehicle parked at Defendant’s mother’s house is strong
circumstantial evidence that Defendant had possession of the automobile.

        Defendant's federal conviction is for being a Felon in Possession of a Firearm. He has a
criminal history which includes, inter alia, drug offenses, assault, evading arrest, and resisting
arrest. Because of his criminal history, Defendant must be supervised closely and must comply
with the conditions of his supervised release to ensure the safety of the community. In response to
the allegations relied upon by the Government, Attorney Christopher Meadows proffered evidence
and argued on behalf of Defendant that the evidence supporting the Alabama warrants against
Defendant is not strong, and that, in any event, the Court could impose conditions on Defendant’s
release to mitigate any danger to the community that he may otherwise present.

        The Court finds that probable cause exists to demonstrate that Defendant committed
violations of his conditions of supervised release. With respect to the detention hearing, the
undersigned is obligated to start with the rebuttable presumption that Defendant is a danger to any
other person or to the community and that he poses a risk of flight. Based on the evidence adduced
at the hearing, the Court concludes that Defendant has not carried the burden of establishing by
clear and convincing evidence that he does not pose a danger to any other person or to the
community and that he is not flight risk. Consequently, the Court GRANTED the Government’s
oral motion to detain Defendant pending disposition of the Petition or further order of this Court.

       It is, therefore, ORDERED that:

             1. Defendant shall be DETAINED WITHOUT BAIL pending a revocation
                hearing before United States District Judge Curtis L. Collier.

             2. Unless revised by further order of the Court, the United States Marshals
                Service shall transport Defendant to the revocation hearing before United
                States District Judge Curtis L. Collier on Wednesday, March 19, 2025,
                at 2:00 p.m.

       SO ORDERED.

                                              /s/ Christopher H. Steger
                                              UNITED STATES MAGISTRATE JUDGE




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